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                        IN THE UNITED STATES COURT
                          OF INTERNATIONAL TRADE

            Before Honorable Gary S. Katzmann, Judge, Honorable
           Timothy M. Reif, Judge, Honorable Jane A. Restani, Judge


V.O.S. SELECTIONS, INC., et al.
                                         Case No. 25-00066-GSK-TMR-JAR
                    Plaintiffs,

v.

DONALD J. TRUMP, et al.,

                    Defendants.


           Plaintiffs’ Reply Brief in Support of Their Motion for
             Preliminary Injunction and Motion for Summary
                    Judgment for Permanent Injunction
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                           Summary of the Argument

   Defendants’ position amounts to an unlimited, unreviewable executive power to

impose any tariffs, in any amount, on any country, at any time. So long as the

President declares a national emergency—a determination Defendants claim is

itself unreviewable—his authority to impose taxes in the form of tariffs on the

American people is, under the Defendants’ logic, essentially unlimited.

   This breathtaking power grab is illegal for multiple reasons: (1) the

International Emergency Economic Powers Act (IEEPA) does not grant authority to

impose tariffs; (2) the law can only be invoked in the event of an emergency, which

does not exist here; (3) IEEPA requires an “unusual and extraordinary threat,”

which also does not exist in this case; (4) if IEEPA were ambiguous on tariffs, the

major questions doctrine requires a ruling that Congress did not delegate the tariff

power to the executive; (5) if IEEPA does grant the vast, unconstrained power

claimed by Defendants, it would violate the nondelegation doctrine; and (6)

constitutional avoidance requires a ruling against the government where the text is

ambiguous. This Court need only agree with Plaintiffs on one of these points for

them to prevail.

   Plaintiffs are therefore likely to prevail on the merits and will suffer irreparable

harm if the tariffs imposed by Executive Order 14257 (the “Liberation Day tariffs”)

remain in effect. And the balance of parties’ interests and the public interest favor

of granting a preliminary injunction. That injunction should be nationwide in scope

because an injunction limited to Plaintiffs would be inequitable, lead to uneven


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     imposition of tariffs, and fail to fully prevent the harm inflicted on Plaintiffs and

     others. Further, because there are no genuine issues of material fact and because

     Plaintiffs have proved their claim that the Liberation Day tariffs exceed the scope of

     executive power, this Court should grant summary judgment to Plaintiffs and enter

     a permanent injunction prohibiting the enforcement of those tariffs.

                                           Argument

I.          IEEPA does not authorize the President to impose tariffs.

        Defendants fail to identify any actual grant of tariff authority in IEEPA—

     because there is none. Instead, they fall back on inference and supposition based on

     expansive interpretations of general language—exactly the sort of approach to

     executive authority the Supreme Court has repeatedly rejected. Defendants claim

     the text of IEEPA authorizes the President to impose tariffs because it says, in

     relevant part: “[T]he President may, under such regulations as he may prescribe, by

     means of instructions, licenses, or otherwise . . . regulate . . . any . . . importation or

     exportation of . . . any property in which any foreign country or national thereof has

     any interest . . . .” Defs.’ Resp. 11 (quoting 50 U.S.C. § 1702(a)(1)(B)). Defendants

     use IEEPA’s reference to “regulation” as a get-out-of jail-free card. But if that were

     the case, then there is truly no limit on the President’s tariff authority. Any

     government policy, at such a level of abstraction, can be declared a “regulation.”

     Both the plain meaning of words and existing precedent support Plaintiffs’

     contention that Executive Order 14257 (the “Liberation Day Order”) goes beyond

     the bounds of anything Congress ever authorized.


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   A.         The plain meaning of IEEPA does not support the claim that the
              statute authorizes the President to impose tariffs.
   Courts must “normally interpret . . . a statute in accord with the ordinary public

meaning of its terms at the time of its enactment.” Bostock v. Clayton Cty., 590 U.S.

644, 654 (2020). Defendants cite the most recent edition of Black’s Law Dictionary

for the definition of “regulate”: “To control (an activity or process) esp. through the

implementation of rules.” Defs.’ Resp. 12 (emphasis added). But imposing a tax or

tariff is not the same as regulation. A tariff does not “control” imported property—

even if in the abstract it exerts control over the behavior of market participants. It

is simply the government taking a percentage of the value of the imported property

for itself.

   Nor does it fit any of the other definitions of “regulate” that Defendants cite. See

Defs.’ Resp. 12. All the dictionary definitions of the term “regulate” cited by

Defendants refer to “control[ing]” by way of “rules”—none refer to the collection of

funds. See id. The 1979 Black’s Law Dictionary version—closer in time to IEEPA—

is even worse for their argument: to regulate is to “fix, establish or control; to adjust

by rule, method, or established mode; to direct by rule or restriction; to subject to

governing principles or laws.” Regulate, Black’s Law Dictionary 1156 (5th ed. 1979).

All Defendants’ citations carry the sense of modifying behavior by establishing

standards, by imposing direction or limitation. Indeed, most of them include the

word “direct” as a corollary of “control.” See Regulate, Random House College

Dictionary 1112 (rev. ed. 1975) (“[T]o control or direct by a rule, principle, method,

etc.”); Regulate, American Heritage Dictionary (1976) (“To control or direct according


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to a rule”); Regulate, Webster’s Third New International Dictionary (1976) (“[T]o

govern or direct according to rule; to bring under the control of law or constituted

authority”). A tariff does not fix, establish, adjust, or direct imported property. And

very few, if any, fluent English speakers have ever referred to their tax liabilities as

a form of “direction.”

   Defendants claim that IEEPA’s grant of authority to regulate any importation of

property must include the power to impose tariffs because the term “regulate”

would mean little more than to “prevent or prohibit”—terms already in the

statute—and would therefore be superfluous. Defs.’ Resp. 14. But “regulate” is not

extensive with the power to prevent or prohibit. Indeed, Defendants’ dictionary

definitions contradict their argument that if the term “regulate” does not include

“tax or tariff” it only can mean “prevent or prohibit.” See Defs.’ Resp. 12 (citing, e.g.,

Black’s Law Dictionary (12th ed. 2024): “To control (an activity or process)”). There

are many ways to “control” other than to “prevent or prohibit.” If Congress enacted

a statute authorizing the President to “regulate, prevent, or prohibit pollution,”

“regulate” wouldn’t be superfluous; it would simply provide a lesser power than

categorical prohibition: the President might prohibit particularly harmful pollution

but only enact regulations limiting the damage from less extreme forms. The same

is true here: the President might prohibit importation of some particularly

dangerous items, but could impose less extreme regulatory constraints, such as

safety inspections, on other imports.




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   B.     Precedent does not support the claim that IEEPA authorizes the
          President to impose tariffs.
   Supreme Court precedent explicitly distinguishes between taxes and

regulations. See CIC Servs., LLC v. IRS, 593 U.S. 209, 216 (2021) (challenge to IRS

reporting requirements not barred by the Anti-Injunction Act because a “reporting

requirement is not a tax; and a suit brought to set aside such a rule is not one to

enjoin a tax’s assessment or collection”). This important distinction exists even

though regulations may facilitate the collection of taxes, and even though taxes may

further a regulatory objective. Id. (“That is so even if the reporting rule will help the

[government] bring in future tax revenue.”); see also Direct Mktg. Ass’n v. Brohl, 575

U.S. 1, 8 (2015) (“‘assessment, levy or collection’ . . . do not encompass enforcement

of the notice and reporting requirements”). Even as applied to the government

collecting money, the Supreme Court distinguishes tax collection meant to raise

revenue from financial penalties designed to punish illicit behavior. Nat’l Fed’n of

Indep. Bus. v. Sebelius, 567 U.S. 519, 544 (2012).

   Defendants assert that precedent supports their claim that tariffs are a form of

regulation of commerce. Defs.’ Resp. 12–13. But, in fact, the cases Defendants cite

support the conclusion that the power to impose tariffs and taxes is distinct from

regulation. In Gibbons v. Ogden, 22 U.S. 1, 202 (1824), the Court explained that “a

duty of tonnage being part of the power of imposing taxes, its prohibition may

certainly be made to depend on Congress, without affording any implication

respecting a power to regulate commerce.” Id. And the Court held in Board of

Trustees of University of Illinois. v. United States, 289 U.S. 48, 58 (1933), that “[i]t is


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true that the taxing power is a distinct power; that it is distinct from the power to

regulate commerce.”

   Indeed, the Constitution refers to import duties as part of the taxing power,

separate from the power to regulate commerce, which is in a different clause. U.S.

Const. art. I, § 8, cl. 3. If the power to “regulate” international commerce included

the power to impose tariffs, it would have rendered superfluous Congress’s power to

“lay and collect taxes, duties, imposts and excises.” U.S. Const. art. I, § 8 cl. 1.

   Neither the text of IEEPA nor Supreme Court precedent support Defendants’

assertion that the power to regulate the importation of property from another

country includes the power to impose tariffs on such property.

   United States v. Yoshida International, Inc., 526 F.2d 560, 577 (C.C.P.A. 1975),

is not to the contrary. In that case, the predecessor of the Federal Circuit

interpreted the Trading With The Enemy Act (TWEA) to allow the President to

impose an import duty surcharge. The canon of construction in pari materia reflects

practical considerations of interpretation but is not binding precedent. Erlenbaugh

v. United States, 409 U.S. 239, 243–44 (1972) (“The rule of in pari materia—like any

canon of statutory construction—is a reflection of practical experience in the

interpretation of statutes.”). The canon is most usefully applied where Congress

passes two statutes around the same time—as opposed to the 60 years between the

TWEA and IEEPA). Id. The Supreme Court has repeatedly warned against

overreading Congress’s failure to affirmatively reject a particular judicial

interpretation of a text. Boys Mkts., Inc. v. Retail Clerk's Union, 398 U.S. 235, 241–



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42 (1970) (“‘[I]t is at best treacherous to find in congressional silence alone the

adoption of a controlling rule of law.’”) (quoting Girouard v. United States, 328 U.S.

61, 69 (1946)). Yoshida alone, therefore, does not resolve whether IEEPA authorizes

the President to impose tariffs; it is incumbent upon this Court to perform the

textual analysis in the first instance.

   Further, Yoshida did not contemplate anything like the awesome scope of

authority the President now claims. Key to the reasoning in Yoshida was that

President Nixon had not overturned Congress’s established system of import duties.

There is an entire section of the opinion titled “[the] Limited Nature of

Proclamation 4074.” Yoshida, 526 F.2 at 577–78. The court upheld President

Nixon’s import surcharge precisely because it adhered to previously established

congressional tariff limits. Id. at 577 (“[F]ar from fixing rates in disregard of

congressional will, [the proclamation] specifically provided, as noted above, that if

the imposition of an additional duty of 10 percent ad valorem would cause the total

duty or charge payable to exceed the total duty or charge payable at the rate [set by

Congress], then [Congress’s rates] shall apply.”).

   The Yoshida court rejected the argument that “if Proclamation 4074 were

upheld, the President, by merely declaring a national emergency, could determine

and fix rates of duty at will, without regard to statutory rates prescribed by

Congress.” 526 F.2d at 577. The court warned that “a finding that the President has

the power under [the TWEA] to impose whatever tariff rates he deems desirable

simply by declaring a national emergency would not only render our trade



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agreements program nugatory, it would subvert the manifest Congressional intent

to maintain control over its Constitutional power to levy tariffs.” Id. That is exactly

what the Liberation Day order amounts to.

   Even if Yoshida required this Court to hold that IEEPA grants the President

some power to impose tariffs—which it does not—Yoshida would require this Court

still hold that the Liberation Day tariffs are not authorized by IEEPA because

Yoshida rejected the broad assertion of unilateral presidential authority to impose

tariffs, holding that it would subvert congressional intent. President Nixon’s

imposition of tariffs was much more limited than the Liberation Day tariffs at issue

here. Indeed, the tariffs in Yoshida did not “attempt[] . . . to tear down or supplant

the entire tariff scheme of Congress, [rather] the President imposed a limited

surcharge, as a temporary measure calculated to help meet a particular national

emergency, which is quite different from imposing whatever tariff rates he deems

desirable.” Id. at 577–78 (cleaned up). “[P]residential actions must be judged in the

light of what the President actually did, not in the light of what he could have

done.” Id. at 577. Yoshida does not support Defendants’ assertion of the power to

impose the “Liberation Day” tariffs under IEEPA.

   Yoshida does not help Defendants for the additional reason that IEEPA is a

more limited statute than TWEA. “Congress enacted IEEPA in 1977 to limit the

emergency economic powers that it had delegated to the President under the

Trading with the Enemy Act.” Congressional Research Service, The International

Emergency Economic Powers Act: Origins, Evolution, and Use, R45618, January 30,



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2024 at 2 (emphasis added).1 This was part of the broader congressional response to

the excesses of the Nixon administration, establishing a commission to assess

concerns about presidential powers; and “[a]mong the more controversial statutes

highlighted by the committee was TWEA,” such that the chair of one of the House

committees “described TWEA as conferring ‘on the President what could have been

dictatorial powers that he could have used without any restraint by Congress.’” Id.

at 7. Because of this, “Congress wrote the International Emergency Economic

Powers Act (IEEPA) to confer ‘upon the President a new set of authorities for use in

time of national emergency which are both more limited in scope than those of

section 5(b) and subject to procedural limitations.’” Id. at 9 (quoting Trading with

the Enemy Act Reform Legislation, Report of the Committee on International

Relations on H.R. 7738, H.R. Rep. No. 95-459, at 2 (1977)). Congress therefore

intended IEEPA to be a much more limited grant of authority than the TWEA. It

strains credulity to assert, as Defendants do, Defs.’ Resp. 20, that IEEPA supports

much broader presidential power to impose tariffs than TWEA.

II.      There is no national emergency or “unusual and extraordinary
         threat” sufficient to invoke IEEPA.

      Even if IEEPA authorizes tariffs in some circumstances—which it does not—the

Liberation Day tariffs are still not supported by IEEPA because there is no national

emergency or “unusual and extraordinary threat,” as required by statute. 50 U.S.C.




1 https://www.congress.gov/crs-product/R45618



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§ 1701(a). These are independent requirements that must both be satisfied to

authorize invocation of IEEPA.

   A.     There is no valid national emergency and the President’s
          invocation of IEEPA is not a political question.
   While courts are understandably loath to nitpick the President’s response to

acute circumstances, it is settled law that “resort to the courts may be had . . . to

challenge the construction and validity of the statute and to question the existence

of [a] ‘declared war’” or other statutory requirements, even in the field of foreign

affairs. Ludecke v. Watkins, 335 U.S. 160, 171 (1948); Johnson v. Eisentrager, 339

U.S. 763, 775 (1950) (reaffirming courts’ ability to review whether the [statutory]

predicates have been met, including “to ascertain the existence of a state of war”).

   All the foundational political question cases are consistent in holding that a case

or controversy does not “lie beyond judicial cognizance” simply because it “touches

foreign relations.” Baker v. Carr, 369 U.S. 186, 211 (1962). Throughout our history,

the courts have reviewed abuses of emergency powers. See, e.g., Chastleton Corp. v.

Sinclair, 264 U.S. 543, 547 (1924) (scrutinizing Congress’s assessment that

emergencies growing out of World War I still existed after 1922); Ex parte Milligan,

71 U.S. 2, 121 (1866) (disallowing the use of military commissions during the Civil

War). If courts can consider whether we are in a state of war, they can certainly

consider the lesser exigency of a claimed economic emergency.

   Treating IEEPA as an unreviewable grant of presidential discretion is at

complete odds with congressional intent—which was to cabin emergency powers to




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their proper scope. As the House committee explained, its goal in enacting IEEPA

was to limit presidential power:

      [G]iven the breadth of the authorities, and their availability at the
      President’s discretion upon a declaration of a national emergency, their
      exercise should be subject to various substantive restrictions. The main
      one stems from a recognition that emergencies are by their nature rare
      and brief, and are not to be equated with normal ongoing problems. A
      national emergency should be declared and emergency authorities
      employed only with respect to a specific set of circumstances which
      constitute a real emergency, and for no other purpose. The emergency
      should be terminated in a timely manner when the factual state of
      emergency is over and not continued in effect for use in other
      circumstances. A state of national emergency should not be a normal
      state of affairs.

Trading with the Enemy Act Reform Legislation H.R. Rep. No. 95-459, at 11 (1977).

And yet the claimed emergency here is literally “a normal state of affairs.” Indeed,

it is the normal state of affairs: As Plaintiffs pointed out in their memorandum,

trade deficits have been normal for this country since World War II—we seem to

have survived that 80 year “emergency” pretty well. See Pls.’ Memo 18–19.

   Defendants’ unsupported claim that deficits can cumulatively create an

emergency over time is unavailing. Defs.’ Resp. 35. Any normal ongoing problem

can be transformed into an emergency by such unsupported speculative reasoning,

thereby eviscerating IEEPA’s limitations on executive discretion. Indeed, trade

deficits have declined as a percentage of GDP since 2006.2



2 “The U.S. current account deficit relative to GDP reached a historic high of 5.8% of

GDP in 2006.” In 2024, it was 3.1%. Washington International Trade Association,
The U.S. Trade Deficit, https://www.wita.org/ustrade/us-trade-trends/the-us-trade-
deficit/; Counsel on Foreign Relations, The U.S. Trade Deficit: How Much Does It
Matter?, https://www.cfr.org/backgrounder/us-trade-deficit-how-much-does-it-
matter
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   IEEPA was passed with the express purpose of limiting the President’s

emergency powers—see § I.B, supra—yet now the executive claims Congress’s

intent was to simply grant him a blank check. If courts are to grant absolute

deference to the President’s judgment, then the standards laid out in IEEPA

become superfluous. There would be no need for Congress to require an “unusual or

extraordinary threat”—any President declaring an emergency will simply declare

that too. The only purpose could be for courts to judge the President’s assertions

against the standards imposed upon him by Congress. Without that, the entire

statute becomes a simple grant of unlimited executive discretion.

   Defendants counter that Congress granted that review authority to itself, citing

50 U.S. Code § 1622, the National Emergencies statute—not IEEPA. Defs.’ Resp.

34. But the fact that Congress created a procedure by which it might express its

opinion hardly divests courts of their inherent judicial power to interpret the law—a

power which it is incumbent upon courts to exercise, rather than deferring to the

other branches. Loper Bright Enters. v. Raimondo, 603 U.S. 369, 402 (2024). As the

primary precedent upon which Defendants rely explains: “The mere incantation of

‘national emergency’ cannot, of course, sound the death-knell of the

Constitution . . . . The declaration of a national emergency is not a talisman

enabling the President to rewrite the tariff schedules, as it was not in this case . . . .

‘Our laws were not established merely to be followed only when times are tranquil.’”

Yoshida, 526 F.2d at 583 (quoting Algonquin SNG, Inc. v. Federal Energy

Administration, 518 F.2d 1051, 1062 (D.C. Cir. 1975)). The judiciary is “not at



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liberty to shut its eyes to an obvious mistake,” Baker, 369 U.S. at 214; accord Harjo

v. Kleppe, 420 F. Supp. 1110, 1117 (D.D.C. 1976) (reaffirming the courts’ power to

review issues “usually considered a matter for political departments” when a

political branch “acts arbitrarily”).

   If the President can declare an entirely normal state of affairs an emergency,

then anything can be an emergency, and absurdities flow without end. The

President could tomorrow declare the precarious incomes of country club golf

professionals a national emergency and tariff the importation of teaching aids that

provide alternative golf instruction on the theory that inferior foreign instructional

resources constitute an unusual and extraordinary threat to his handicap. He could

tariff lederhosen and beer to confront the national emergency of too many raucous

Oktoberfest celebrations. In fact, the President has announced plans to impose

100% tariffs on foreign-produced movies, claiming they pose a “National Security

threat.”3

   The political question doctrine has never countenanced such absurdities. Rather,

it is a recognition of the role of courts relative to the President, and that role is to

interpret and impose those requirements and limitations that Congress saw fit to

demand of the executive. To demand that courts rubber-stamp any emergency a

President declares, and any policies derived from such, is to license tyranny.




3 Donald Trump, Truth Social, May 4, 2025, 7:18 PM, available at

https://truthsocial.com/@realDonaldTrump/posts/114452117143235155.
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   B.     There is no “unusual and extraordinary threat.”

   In addition to requiring a declaration of a national emergency, invocation of

IEEPA also requires the presence of an “unusual and extraordinary threat, which

has its source in whole or substantial part outside the United States, to the national

security, foreign policy, or economy of the United States.” 50 U.S.C. § 1701(a).

IEEPA authority “may only be exercised to deal with an unusual and extraordinary

threat with respect to which a national emergency has been declared for purposes of

this chapter and may not be exercised for any other purpose.” 50 U.S.C. § 1701(b).

   Mere declaration of a national emergency, even a valid one, does not by itself

satisfy the requirement that an “unusual and extraordinary threat” be present.

Otherwise, that requirement would become superfluous. Such redundancy violates

the “elementary canon of construction that a statute should be interpreted so as not

to render one part inoperative.” Colautti v. Franklin, 439 U.S. 379, 392 (1979).

   Even if the validity of the emergency declaration were a political question—

which it is not—that does not mean the further statutory predicates imposed by

IEEPA to prevent abuse of emergency powers disappear. “Though courts will not

normally review the essentially political questions surrounding the declaration or

continuance of a national emergency, they will not hesitate to review the actions

taken in response thereto or in reliance thereon.” Yoshida, 526 F.2d at 583. “It is

one thing for courts to review the judgment of a President that a national

emergency exists. It is another for courts to review his acts arising from that

judgment.” Id. It is therefore incumbent on Defendants, even granting the existence



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of an emergency, to meet the remaining statutory standards—including “unusual

and extraordinary threat.” And they make no effort to do so. None of their citations

support the idea that, once an emergency is declared, the subsidiary statutory

requirements disappear.

   The existence of trade deficits is entirely normal, and not an “unusual and

extraordinary threat,” or even any threat at all. Pls.’ Memo at 18–19. Defendants

have no real answer to this point and, conflate the requirement of an “unusual and

extraordinary threat” with that of declaring a national emergency, even though the

two are separate. See Defs.’ Resp. 32. This Court should not defer to the President’s

mere assertion that an unusual and extraordinary threat exists. To do so would

essentially eviscerate this important part of the statute.

   None of the cases cited by Defendants mandate the conclusion that the

President’s assertion of an unusual and extraordinary threat is unreviewable by

this Court. See Defs.’ Resp. 33–34 (citing In re 650 Fifth Ave. & Related Props., 777

F. Supp. 2d 529, 575 n.16 (S.D.N.Y. 2011); Beacon Prods. Corp. v. Reagan, 633 F.

Supp. 1191, 1194–95 (D. Mass. 1986)). District court decisions are not binding

precedents, and both cases are easily distinguishable because they addressed uses

of IEEPA in response to actual “unusual and extraordinary threats” to U.S.

security. One involved sanctions imposed against Iran in response to the Iranian

government’s 1979 seizure of the US embassy in that country, and support of

terrorism. See In re 650 Fifth Ave., 777 F. Supp. 2d at 535–45. Even so, the court

ultimately concluded that the plaintiffs’ claim that their property was illegally



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seized under IEEPA did not present an unreviewable political question. Id. at 543–

46. The other involved President Reagan’s imposition of an embargo against

Nicaragua in response to the communist government’s alliance with the Soviet

Union and support of insurgencies in its region. Beacon Prods. Corp., 633 F. Supp.

At 1192–95; cf. Ronald Reagan, Message to the Congress on Economic Sanctions

Against Nicaragua (May 1, 1985)4 (describing “Nicaragua's continuing efforts to

subvert its neighbors, its rapid and destabilizing military buildup, its close military

and security ties to Cuba and the Soviet Union and its imposition of Communist

totalitarian internal rule” as the reasons for the embargo). These classic national

security threats arising from sudden crises are a far cry from the situation in the

present case.

III.        Defendants’ interpretation of IEEPA runs afoul of the major
            questions doctrine and Constitutional nondelegation.

       A.     The major questions doctrine requires Congress to ‘speak clearly’
              when delegating such significant power.

   The major questions doctrine (MQD) requires Congress to “speak clearly if it

wishes to assign to an agency decisions of vast ‘economic and political significance.’”

Util. Air Reg. Group v. EPA, 573 U.S. 302, 324 (2014) (citations omitted); see also

FDA v. Brown & Williamson, 520 U.S. 120, 159–60 (2000) (holding that Congress

cannot be assumed to have implicitly delegated the power to regulate “a significant

portion of the American economy” because “Congress could not have intended to

delegate a decision of such economic and political significance” without explicitly


4 available at https://www.reaganlibrary.gov/archives/speech/message-congress-

economic-sanctions-against-nicaragua
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saying so). The use of IEEPA to impose massive tariffs on goods imported from

almost every nation in the world is unquestionably a decision of “vast economic and

political significance,” more so than any of the other actions ruled to be “major

questions” by the Supreme Court. See Pls.’ Memo. 13–14.

   Defendants nonetheless claim that MQD applies only to executive agencies, not

to the President, and therefore this enormous assertion of power is exempt from

scrutiny. This distinction is indefensible. It has already been rejected by at least

three federal courts of appeals: the Fifth, Sixth, and Eleventh Circuits. See

Louisiana v. Biden, 55 F.4th 1017, 1031 n.40 (5th Cir. 2022) (“delegations to the

President and delegations to an agency should be treated the same under the major

questions doctrine”); Georgia v. President of the U.S., 46 F.4th 1283, 1295–96 (11th

Cir. 2022) (holding that an assertion of power by the President under the

Procurement Act is “no exception” to application of MQD); Kentucky v. Biden, 23

F.4th 585, 606–08 (6th Cir. 2022) (applying MQD to a presidential directive). The

Ninth Circuit previously held otherwise in a decision that was later vacated. Mayes

v. Biden, 67 F.4th 921, 932–34 (9th Cir. 2023), vacated as moot, 89 F.4th 1186 (9th

Cir. 2023). The Ninth Circuit has since applied MQD to a presidential action but

held that policy did not run afoul of the doctrine because it wasn’t a “transformative

expansion” of executive authority. Nebraska v. Su, 121 F. 4th 1, 14 (9th Cir. 2024).

The unprecedented use of IEEPA—a statute never before used to impose tariffs of

any kind—to impose tariffs on imports from almost every nation in the world surely

qualifies as a “transformative expansion,” if anything does.



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   For MQD purposes, “[i]t makes no difference which Executive Branch officer has

received an unlawful delegation.” Id. at 15 (Nelson, J., concurring). The doctrine “is

fundamentally a separation of powers doctrine” that “keeps Congress in its

constitutional lane, preventing it from delegating ‘fundamental policy decisions’ to

the Executive Branch.” Id. (quoting Indus. Union Dep’t, AFL-CIO v. Am. Petrol.

Inst., 448 U.S. 607, 687 (1980) (Rehnquist, J., concurring in the judgment)). That

logic applies regardless of whether the power in question is claimed by the

President or by an agency. Id. Indeed, under the “unitary executive” theory

otherwise embraced by Defendants, “the “entire ‘executive Power’ belongs to the

President alone.” Seila Law LLC v. Consumer Fin. Prot. Bureau, 591 U.S. 197, 213

(2020) (quoting U.S. Const. art. II, § 1).5 Agencies are, in this view, just adjuncts to

presidential authority. If MQD does not apply to the President, then he could evade

judicial review under MQD simply by issuing an executive order requiring the

agency in question to do his bidding. “Distinguishing between presidential and

agency delegations also ignores the realities of administrative decision-making. The

President is likely to be closely involved in major policies, even if they are

ultimately promulgated by an agency.” Su, 121 F.4th at 19 (Nelson, J., concurring).

   Defendants’ argument that the President is different because he is subject to

“political accountability” also makes no sense. Defs.’ Resp. 22. Given extensive



5 On the Defendants’ embrace of unitary executive theory, see, e.g., Jack Goldsmith,

Maximum Executive Power and the Fate of the Unitary Executive, Executive
Functions, Jan. 28, 2025 (noting this administration has advanced a maximalist
version of the theory), available at
https://executivefunctions.substack.com/p/maximum-executive-power-and-the-fate.
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presidential control over agencies, the latter also face accountability through him.

In addition, agencies face accountability through congressional action. Congress can

legislate to curb the power of agencies that anger majority public opinion. Indeed,

agencies face greater congressional constraint than the President, because Congress

can adopt legislation abolishing an agency entirely, whereas it cannot do the same

to the President.

   Exempting the President from MQD scrutiny also makes no sense if the doctrine

is understood as a linguistic canon, that “situates text in context,” and therefore

requires clearer and less ambiguous statements to justify broad delegations of

power, as opposed to narrow ones. See Biden v. Nebraska, 600 U.S. 477, 508–14

(2023) (Barrett, J., concurring, adopting this approach). “Here, it would be even

stranger to treat the President differently . . . . Why would our normal interpretive

process turn on the identity of the Executive Branch officer to whom Congress

delegated power? An implausible reading of a statute is no less implausible when

that statute confers authority on the President versus an agency.” Su, 121 F.4th at

19–20 (Nelson, J., concurring).

   Defendants’ claim that MQD does not apply to issues involving foreign affairs

and national security is also unavailing. Defs.’ Resp. 22. There is no such exception

to the doctrine. And an exception is particularly inappropriate when it comes to

delegation of a core congressional authority: the powers to “lay and collect taxes,

duties, imposts and excises,” and “[t]o regulate commerce with foreign nations.”

U.S. Const. art. I, § 8 cl. 1, 3.



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   The Supreme Court has applied MQD to assertions of executive authority

stemming from national emergencies, such as the COVID-19 pandemic. See, e.g.,

Biden v. Nebraska, 600 U.S. 477 (2023) (claim of power to forgive student loans

based on a national emergency declaration). It did so even though the claimed

authority in question was based on the 2003 HEROES Act, legislation meant in

large part to address war and foreign policy emergencies. See id. at 494 (noting that

“[t]he HEROES Act authorizes the Secretary to ‘waive or modify any statutory or

regulatory provision applicable to the student financial assistance programs under

title IV of the [Education Act] as the Secretary deems necessary in connection with

a war or other military operation or national emergency.’ 20 U.S.C. § 1098bb(a)(1)”).

In Alabama Association of Realtors v. HHS, the Court applied MQD to invalidate a

nationwide eviction moratorium intended to curb the spread of COVID-19, even

though the statute authorized measures to curb the “spread of communicable

diseases from foreign countries into the States or possessions, or from one State or

possession into any other State or possession.” 594 U.S. 758, 761 (2021) (quoting 42

U.S.C. § 264(a)). The possibility that the eviction moratorium might inhibit the

spread of COVID-19 “from foreign countries” did not prevent application of MQD.

Moreover, the widespread death and economic disruption inflicted by the COVID-19

emergency quite obviously impacted U.S. foreign policy and national security. See

Dir. of National Intelligence, National Intelligence Estimate: Economic and

National Security Implications of the COVID-19 Pandemic Through 2026, Apr.




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2022,6 (outlining major implications in detail). That did not prevent the Supreme

Court from applying MQD to policies intended to mitigate the pandemic, and such

considerations should not prevent its application here.

   Maple Leaf Fish Co. v. United States,762 F.2d 86 (Fed. Cir. 1985), cited by the

Defendants, is not to the contrary. That ruling emphasizes that judicial

intervention is appropriate when there is “a clear misconstruction of the governing

statute, a significant procedural violation, or action outside delegated authority.” Id.

at 89. In this case, for reasons already discussed, we have both multiple “clear

misconstruction[s]” of IEEPA and “action outside delegated authority.” See §§ I–II,

supra. In addition, Maple Leaf predates the Supreme Court’s modern MQD

decisions and thus did not consider whether that doctrine applies.

   Defendants’ reliance on Yoshida is equally unavailing. Yoshida was decided

before the development of modern Supreme Court MQD precedent and cannot

override or circumscribe those decisions. Nor did Yoshida endorse anything like the

boundless executive discretion to impose tariffs claimed by Defendants. See § I.B,

supra; § III.B, infra.

   B.     Granting the President unilateral authority to impose tariffs
          would make IEEPA unconstitutional under the nondelegation
          doctrine.

   “The nondelegation doctrine is rooted in the principle of separation of powers

that underlies our tripartite system of Government.” Mistretta v. United States, 488



6 available at https://www.dni.gov/files/ODNI/documents/assessments/NIE-

Economic_and_National_Securtiy_Implications_of_the_COVID-
19_Pandemic_Through_2026.pdf
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U.S. 361, 371 (1989). Despite Defendants’ suggestions to the contrary, there is no

doubt that nondelegation principles apply to tariff and trade legislation. “Supreme

Court jurisprudence, from the early days of the Republic, evinces affirmation of the

principle that the separation of powers must be respected and that the legislative

power over trade cannot be abdicated or transferred to the Executive.” American

Institute for Intern. Steel, Inc. v. United States, 376 F. Supp. 3d 1335, 1347 (Ct. Int’l

Trade 2019) (Katzmann, J., dubitante); cf. Jack Goldsmith & Curtis Bradley,

Foreign Affairs, Nondelegation, and the Major Questions Doctrine, 172 U. Penn. L.

Rev. 1743, 1788–89 (2024) (explaining that “the President has no independent

constitutional authority over international commerce” and therefore “a simple

categorical determination that an area involves foreign affairs or national security

cannot by itself suffice to address delegation concerns” when it comes to IEEPA and

other statutes related to foreign trade). Congress must at least provide an

“intelligible principle” to control the discretion of the executive. Gundy v. United

States, 588 U.S. 128, 132, 135 (2019).

   Under the government’s interpretation of IEEPA, the President has virtually

unlimited authority to impose tariffs, so long as he proclaims a national emergency,

which he can do anytime he wants for any reason he wants, with no judicial review.

This would be the most “sweeping delegation of legislative power” since the

Supreme Court invalidated the National Recovery Act, which gave “virtually

unfettered’’ discretion to the President “in approving or prescribing codes, and thus

enacting laws for the government of trade and industry throughout the country.”



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A. L. A. Schechter Poultry Corp. v. United States, 295 U.S. 495, 539, 542 (1935).

Here we have a similar claim to “virtually unfettered discretion” to impose tariffs on

international trade, with dramatic effects on the economy. It is true that “[t]he

legislative process would frequently bog down if Congress were constitutionally

required to appraise before-hand the myriad situations to which it wishes a

particular policy to be applied and to formulate specific rules for each situation.”

Am. Power & Light Co. v. SEC, 329 U.S. 90, 105 (1946). But that doesn’t mean

Congress can take the opposite extreme, granting unfettered, unreviewable

discretion to exercise an enumerated congressional power anytime the executive

wants.

   Defendants cite cases, such as Yoshida, holding that IEEPA and its predecessor

statute, TWEA, do not violate nondelegation. But these cases did not uphold the

kind of limitless authority claimed by Defendants here. Yoshida emphasized that

“the delegation could not constitutionally have been of the full and all-inclusive

power to regulate foreign commerce.” 526 F.2d at 574 (quotation omitted). Yoshida

upheld a limited imposition of a “surcharge” under TWEA because “the surcharge

was limited to articles which had been the subject of prior tariff concessions and,

thus, to less than all United States imports,” and because “[w]ith respect to those

articles on which no concession had been granted, the congressionally established

rates remained untouched.” Id. at 577. Thus, presidential discretion was

constrained by tariff rates previously set by Congress. By contrast, the Defendants’

do claim an “all-inclusive power” to impose tariffs at will.



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   The cases Defendants rely on all emphasize the limited nature of presidential

authority under IEEPA. See United States v. Dhafir, 461 F.3d 211, 216–17 (2nd Cir.

2006) (“The powers granted to the President are explicitly defined and

circumscribed”); United States v. Arch Trading Co., 987 F.2d 1087, 1093 (4th Cir.

1993) (“[T]he authorities delegated are defined and limited.”); United States v. Shih,

73 F.4th 1077, 1092 (9th Cir. 2023) (IEEPA “limits the President’s authority to

prohibit certain types of transactions.”). None of these decisions hold that IEEPA

grants tariff authority to the President at all; they could not, since no previous

President has used it in that way. Instead, they interpret the real IEEPA, which

“meaningfully constrains the [President's] discretion . . . by requiring that “[t]he

authorities granted to the President . . . may only be exercised to deal with an

unusual and extraordinary threat with respect to which a national emergency has

been declared,” rather than the mythical statute of the Defendants’ imagination,

under which these terms mean whatever the executive says they mean. Dhafir, 461

F.3d at 216–17. If the President can declare a “national emergency” anytime he

wants and there is no enforceable limit to what he can consider to be an “unusual

and extraordinary threat,” then these terms impose no “meaningful constraint” on

his discretion.

   Defendants are wrong to claim that nondelegation problems are somehow

averted by Congress’s ability to investigate or terminate (by means of new

legislation) the President’s national emergency declaration after the fact. Such

congressional action is always possible for any kind of delegated power. By this



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standard, a statute giving the President the power to “impose any taxes or tariffs he

deems necessary” would be an acceptable delegation, since Congress could always

investigate the President’s justifications for using that power and overturn any

tariffs with new laws. The whole point of limiting delegations is to prevent a

“sweeping delegation of legislative power” in ways that create “unfettered

discretion” in the first place. Schechter Poultry, 295 U.S. at 539, 542. If after-the-

fact congressional review were sufficient, no delegation would ever be too broad.

   C.     Constitutional avoidance requires a ruling against Defendants’
          interpretation of IEEPA.

   At the very least, the nondelegation issues raised by Defendants’ interpretation

of IEEPA are serious enough to trigger the canon of constitutional avoidance.

“When the validity of an act of the Congress is drawn in question, and even if a

serious doubt of constitutionality is raised, it is a cardinal principle that this Court

will first ascertain whether a construction of the statute is fairly possible by which

the question may be avoided.” Crowell v. Benson, 285 U.S. 22, 62 (1932).

   Here, for reasons already noted, there are several different “fairly possible” ways

to avoid the nondelegation issue. These include (1) holding that IEEPA does not

authorize tariffs, (2) holding that there is no valid national emergency, (3) holding

there is no “unusual and extraordinary threat,” and (4) holding that MQD bars the

Defendant’s interpretation of IEEPA on any of the previous three points. Any of

these four perfectly plausible options would avoid the need to consider the

constitutional question raised by the Defendants’ approach.




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IV.        Plaintiffs are entitled to a preliminary injunction.

      A.      Plaintiffs will suffer irreparable harm.

      Plaintiffs have established likelihood of immediate, irreparable harm in the form

of lost business opportunities, reputational damage, and loss of goodwill. It is

irrelevant whether Plaintiffs have already paid the Liberation Day tariffs because

they have established that they will, in their regular course of business, import

goods for which they will be responsible for paying challenged tariffs.

      As Defendants note, Plaintiffs V.O.S. and Terry Precision Cycling have both

“made entries that appear to be subject to the tariffs at issue[.]” Defs.’ Resp. 38, n.3.

Because tariffs must be paid immediately upon arrival at the port, V.O.S. will

“imminently be required to [pay additional duties pursuant to the Executive

Orders]” for the entry referenced by the government. Pls.’ Mot., Decl. Schwartz Ex.

A, ¶ 25; see Defs.’ Resp. 38–39, n.3. As of this moment. V.O.S. has two containers

with a total value of $122,234 scheduled to arrive in the next few weeks which will

incur tariffs of $12,223, which V.O.S. will pay upon arrival of the shipments at the

port. Decl. of Victor Schwartz, Exhibit A, ¶¶ 4–6.

      Terry Cycling has paid $26,094.35 in duties authorized by the Liberation Day

Order between April 18, 2025, and May 2, 2025. Decl. of Nikolaus Holm, Exhibit B,

¶¶ 6–7. Terry Cycling will also imminently be required to pay additional duties for

the entry referenced by Defendants. See Defs.’ Resp. 38–39, n.3. Terry Cycling will

continue to import goods, in the regular course of its business, that are subject to

the Liberation Day tariffs. Pls.’ Mot., Decl. Holm, Ex. E, ¶¶ 24–27.



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    Genova Pipe does not have an alternative domestic supplier for the raw

materials it requires to operate its business; to continue operations Genova Pipe

must continue importing raw materials from abroad. Pls.’ Mot., Decl. Reese, Ex. B,

¶¶ 5–7. Therefore, Genova Pipe will imminently be required to pay the additional

duties.

    FishUSA relies on foreign imports because there is no alternative source for its

products in the United States, and there is insufficient time to create such an

alternative. Pls.’ Mot., Decl. Pastore, Ex. D, ¶¶ 12, 13, 25. Therefore, FishUSA will

continue to import goods from abroad, necessary to the operation of the business,

which will incur the additional duties.

   MicroKits has delayed ordering the necessary component parts as a direct result

of the tariffs; therefore, it has not paid the tariffs. “At the current rates MicroKits

cannot order parts” and the business only “has enough parts to continue

manufacturing operations for 7 weeks before it will have to shut down.” Pls.’ Mot.,

Decl. Levi, Ex. C, ¶¶ 7, 10.

   The Liberation Day tariffs have only been in place for a short time due to

exclusions for items already in transit.7 By using the word “and” instead of “or,” the


7 “The Reciprocal Tariffs will not apply to goods loaded onto a vessel at the port of

loading and in transit on the final mode of transit before 12:01 a.m. EDT on the
effective date and entered for consumption or withdrawn from the warehouse for
consumption after 12:01 a.m. EDT on the effective date and before 12:01 a.m. EDT
on May 27 2025.” Miller & Chevalier, What You Need to Know About Reciprocal
Tariffs, April 4, 2025, https://www.millerchevalier.com/publication/what-you-need-
know-about-reciprocal-tariffs-updated#:~:text=the%20Reciprocal%20Tariffs.-
,What%20if%20my%20products%20are%20already%20in%20transit%20to%20the,E
DT%20on%20May%2027%202025; see also International Emergency Economic


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Liberation Day Order has created ambiguity for businesses, such as Plaintiffs,

about whether goods shipped before April 5th will still be subject to the new duty.8

   “[T]he mere possibility of future monetary damages does not defeat a motion for

preliminary injunction” because “[a]s its name implies, the irreparable harm

inquiry seeks to measure harms that no damages payment, however great, could

address.” Celsis in Vitro, Inc. v. CellzDirect, Inc., 664 F.3d 922, 930 (Fed. Cir. 2012).

Plaintiffs’ losses are precisely the kind that go beyond measurable monetary

damages and therefore cannot be addressed by money alone. The point of a

preliminary injunction is to prevent the irreparable harm that would occur from

being subjected to the tariffs; requiring Plaintiffs to have their businesses

permanently damaged as a precondition for a preliminary injunction defeats the

purpose of a preliminary injunction remedy.

   Monetary compensation is inadequate because Plaintiffs will suffer irreparable

harm from the cumulative effect of the tariffs on the Plaintiffs’ business operations,

including harm to goodwill, reputational damage, and lost business opportunities,

as detailed in Plaintiffs’ declarations, respectively. See Pls.’ Mot., Exs. A–E. As this

Court has stated, “bankruptcy or a substantial loss of business may constitute



Powers Act (IEEPA) Frequently Asked Questions, U.S. Customs and Border
Protection, https://www.cbp.gov/trade/programs-administration/trade-
remedies/IEEPA-FAQ (last modified May 1, 2025).
8 See Lenny P. Feldman, Two Minutes in Trade–In Transit, Out of the Tariff?,

ST&R, April 13, 2025, https://www.strtrade.com/trade-news-resources/str-trade-
report/podcast/two-minutes-in-trade-in-transit-out-of-the-
tariff?mkt_tok=NzIzLVdPWi00NDYAAAGZ5GamqSRRk1XYyatXq6bLu0pLLRRgn
vHcHYHbhbppHZRdKxkKsNnNPx8WWiydIeWFAjy3VtWkeSuf-
kIocaa7F66kCRRRbPM7liE_vSR3sV0
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irreparable harm because those events render a final judgment ineffective and

deprive movant of ‘meaningful judicial review.’” Retractable Techs., Inc. v. United

States, 739 F. Supp. 3d 1330, 1340 (Ct. Int’l Trade 2024) (citations omitted). “Price

erosion, loss of goodwill, damage to reputation, and loss of business opportunities

are all valid grounds for finding irreparable harm.” Celsis in Vitro, 664 F.3d at 930.

Just as “[t]here is no effective way to measure the loss of sales or potential growth—

to ascertain the people who do not knock on the door or to identify the specific

persons who do not reorder because of the existence of the infringer” there is no way

to measure and compensate by monetary damages the knock-on effects from

damage to supplier and customer relationships, goodwill, reputation and lost

business opportunities for our Plaintiffs. Id. It is for good reason that the U.S.

Chamber of Commerce sent a letter to the administration on April 30 asking for

tariff relief at least for small business like Plaintiffs to “save America’s small

businesses and stave off a recession,” explaining that “the Chamber is hearing from

small business every day who are seeing their ability to survive endangered by the

recent increase in tariff rates.”9

   Genova Pipe will suffer loss of goodwill and damage to reputation absent an

injunction because its Canadian customers will be deterred from buying Genova

Pipe’s USA-made products and will enter into relationships with other suppliers;




9 Megan Cassella and Kevin Breuninger, U.S. Chamber of Commerce asks Trump

for tariff exclusions to ‘stave off a recession,’ CNBC, May 1, 2025, available at
https://www.cnbc.com/2025/05/01/trump-tariffs-recession-chamber-of-
commerce.html
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there is no amount of monetary compensation that can repair these damaged

relationships at the resolution of this case. Pls.’ Mot., Decl. Reese, Ex. B, ¶ 13.

   This Court has previously recognized irreparable harm due to “loss of goodwill

and damage to his reputation from his domestic customers due to his failure to

deliver because of his inability to pay the fully collateralized bond amount.” Kwo

Lee, Inc. v. United States, 24 F. Supp. 3d 1322, 1328 (Ct. Int’l Trade 2014). V.O.S.

finds itself in a similar situation; the tariffs will create an immediate cash flow

problem. As a small business, V.O.S. does not have access to capital like a large

corporation might; the only way to increase working capital is to sell off existing

inventory quickly, at a steep discount or loss, reducing overall inventory level,

limiting the ability of V.O.S. to service its customers. Pls.’ Mot., Decl. Schwartz, Ex.

A, ¶¶ 25–30. If V.O.S. cannot sell inventory fast enough, V.O.S. will not be able to

pay its suppliers.

   FishUSA has no alternative source for its products in the United States and

insufficient time to create such an alternative before the business will be

irreparably harmed. Pls.’ Mot., Decl. Pastore, Ex. D, ¶¶ 12, 13, 25. FishUSA has

already lost business opportunities due to the tariffs, in the form of stopping work

on a project that was slotted to go into production imminently. Id. ¶¶ 27–28.

FishUSA has already paused production of some products and paused orders which

will damage the business’ reputation with suppliers. Id. ¶¶ 18, 23, 24.

   The tariffs are an existential threat to Terry Cycling. Pls.’ Mot., Decl. Holm, Ex.

E, ¶ 5. “It is difficult for this court to envision any irreparable damage to a plaintiff



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and his business more deserving of equitable relief than the [very] loss of the

business itself.” McAfee v. U.S., 531 F. Supp. 177, 179 (Ct. Int’l Trade 1982). Terry

Cycling’s product category is “highly sensitive” to price increases, particularly in an

inflationary environment. Pls.’ Mot., Decl. Holm, Ex. E, ¶ 32. The Federal Circuit

Court of Appeals has previously recognized testimony about the sensitivity of the

market as a permissible basis for irreparable harm. See Celsis in Vitro, 664 F.3d at

930.

   MicroKits will suffer irreparable harm in the form of lost business opportunities

because it “will not be able to compete with copycat versions of its product” and

MicroKits has already been forced to delay hiring an operations assistant. Pls.’

Mot., Decl. Levi, Ex. C, ¶¶ 15, 16. MicroKits also “will not be able to produce enough

inventory to stay in stock during the crucial Q4 holiday sales season” if it cannot

immediately order more parts to continue manufacturing. Id. ¶ 12. This mirrors

Celsis in Vitro, where testimony about the inability to market to potential and

existing customers during the growth stage of a product leading to price erosion,

reputational damage, and loss of business opportunities was permissible evidence of

irreparable harm. 664 F.3d at 930.

   B.      The remaining preliminary injunction factors favor Plaintiffs.

   Defendants blend the two remaining preliminary injunction factors together —

the balance of hardship and the public interest—because those factors “merge when

the Government is the opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009).

   Defendants argue that there is a “public interest in maintaining the challenged

executive actions.” Defs.’ Resp. 42. But “[o]f course the government has no
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legitimate interest in upholding an unconstitutional system” or requirement. United

States v. U.S. Coin & Currency, 401 U.S. 715, 726 (1971) (Brennan J., concurring).

By contrast, “[t]he public interest is served by ensuring that governmental bodies

comply with the law, and interpret and apply trade statutes uniformly and fairly.”

Am. Signature, Inc. v. United States, 598 F.3d 816, 830 (Fed. Cir. 2010).

   Further, an injunction is in the public interest because the economic impact from

the tariffs themselves has been disastrous, not just to Plaintiffs. See, e.g., Paul

Davidson, et al., Is America’s Economic Slip Temporary? Trump, Biden Allies

Divided Over GDP Report, USA Today (April 30, 2025) 10 (noting economic damage);

Mary Cunningham, IMF Forecasts Slower U.S. Economic Growth in 2025, Pointing

to Escalating Trade War, CBS News (April 22, 2025) 11 (tariffs are slowing economic

growth); Olesya Dmitracova, The Economic Damage From Trump’s Tariffs is Piling

Up, CNN, Apr. 23, 202512 (noting growing damage); Erica York & Alex Durante,

Trump Tariffs: The Economic Impact of the Trump Trade War, Tax Foundation,

Apr. 11, 202513 (estimating extensive economic damage likely to be caused by the

tariffs). This Court need not turn a blind eye to the obvious consequences the

Liberation Day tariffs have had and will continue to have on American businesses



10 https://www.usatoday.com/story/money/2025/04/30/gdp-report-economy-tariffs-

impact-q1-2025/83333454007/
11 https://www.cbsnews.com/news/imf-us-economy-2025-trade-war-tariffs-economic-

outlook/
12 available at https://www.cnn.com/2025/04/23/economy/uk-germany-economy-

tariffs-intl/index.html
13 https://taxfoundation.org/research/all/federal/trump-tariffs-trade-war/. Plaintiffs’

Complaint contained a typo, incorrectly stating this number as “$1.4 to 2.2 billion.”
See ECF 2 at ¶ 71. The correct number is the one listed here: “$1.4 to 2.2 trillion.”
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and consumers. Indeed, the Supreme Court has repeatedly held that courts can take

judicial notice of prevailing economic conditions that are obvious to all. W. Coast

Hotel Co. v. Parrish, 300 U.S. 379, 399 (1937) (taking judicial notice of economic

depression); Atchison, T. & S. F. R. Co. v. United States, 284 U.S. 248, 260 (1932)

(same); Home Bldg. & Loan Asso. v. Blaisdell, 290 U.S. 398, 444 (1934) (taking

judicial notice of collapsing land values and mortgage lending).

   Additionally, the public interest is not served by the erosion of separation of

powers implicit in the maximalist view of executive authority espoused by

Defendants. Far from “acting within Congress’s authorization,” as Defendants

claim, Defs.’ Resp. 43, the Administration asserts unreviewable authority to declare

a national emergency whenever the President wants, and that even bilateral trade

deficits that have existed for decades constitute an unusual and extraordinary

threat. Defendants’ argument that the “injunction would be an enormous intrusion

on the President’s conduct of foreign affairs,” Defs.’ Resp. 43, ignores the fact that

even in the context of foreign policy, the Executive’s actions are subject to judicial

review. See, e.g., Hamdi v. Rumsfeld, 542 U.S. 507, 531, 533 (2004) (even “weighty

and sensitive governmental interests” including “the Constitution[al] recogni[tion]

that core strategic matters of warmaking belong in the hands of those who are best

positioned and most politically accountable for making them” “may not erode[]”

“essential constitutional promises”).

   As to any interest the public may have in the policy underlying the Executive

Order, “[t]he issuance of an injunction does not undermine that interest, it merely



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maintains the status quo.” In re Section 301 Cases, 524 F. Supp. 3d 1355, 1372 (Ct.

Int’l Trade 2021). Here, that means the conditions that existed before the

enactment of these unlawful tariffs. “The public interest is served by the accurate

and effective, uniform and fair enforcement of trade laws.” Kwo Lee, Inc. v. United

States, 24 F. Supp. 3d 1322, 1332 (Ct. Int’l Trade 2014).

   “While ‘maintaining a maximum level of security for the unliquidated entries

might serve the public interest of revenue collection,’ this cannot be done ‘at the cost

of continuing to subject [a plaintiff] to an unlawful, and discriminatory bonding

requirement.’ Preserving Plaintiff’s access to meaningful judicial review, a public

interest in itself, protects against unchecked and unchallenged enforcement by

preserving Plaintiff's opportunity to litigate a potentially meritorious claim.

Accordingly, the public interest will be served by granting the Plaintiff a

preliminary injunction.” Id. (citations omitted).

   C.     This Court should grant a broad preliminary injunction against
          the Liberation Day Order’s enforcement.

   This Court should enter a preliminary injunction enjoining the Liberation Day

Order’s enforcement entirely. Doing otherwise would be inequitable and result in

uneven application of tariffs.

   Defendants assert that a preliminary injunction issued by this Court should be

limited to the parties to this litigation. Defs.’ Resp. 44. They also assert that

nationwide injunctions are only available in “exceptional cases” and “rare

circumstances.” Defs.’ Resp. 44 (citing City and County of San Francisco v. Trump,




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897 F.3d 1225, 1244 (9th Cir. 2018) and City of Chicago v. Barr, 961 F.3d 882, 916

(7th Cir. 2020)).

   But a nationwide injunction is appropriate where it is “necessary to give

prevailing parties the relief to which they are entitled.” City and County of San

Francisco, 897 F.3d at 1244. And this is an exceptional case. Here, the President

asserts broad, unilateral authority to impose tariffs on imports from every country

in the world, which is already having an enormous impact not only the United

States’ economy, but the world economy. If there ever was an exceptional case

requiring a nationwide injunction, it is this case.

   And a nationwide injunction is in the public interest. “As for the public interest,

there can be no doubt that it is best served by ensuring that the [government]

complies with the law, and interprets and applies our international trade statutes

uniformly and fairly.” Ceramica Regiomontana, S.A. v. United States, 7 Ct. Int’l

Trade 390, 397 (1984). A nationwide injunction is necessary to ensure uniformity

and fairness and therefore is in the public interest. Otherwise, only Plaintiffs (and

possible future litigants) will be exempt from the tariffs.

   Further, the harm to Plaintiffs is not simply the cost of paying the Liberation

Day tariffs. The application of those tariffs across the economy harms them. See

§ III.A, supra. The tariffs applied to Plaintiffs’ suppliers or customers will affect

their businesses, even if they are not required to directly pay the tariffs themselves.

Thus, a nationwide injunction is necessary to give Plaintiffs the relief to which they

are entitled.



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   Additionally, limiting the scope of the preliminary injunction would impair

judicial efficiency. There are other similar challenges to the President’s Liberation

Day tariffs. Limiting the injunction to Plaintiffs would mean this Court would have

to review every motion for preliminary injunction in those cases separately. And

every business affected by the tariffs would need to file their own case for this court

to resolve.

   Finally, because the Court has exclusive jurisdiction under 28 U.S.C.

§ 1581(i)(1)(B) and because this case will be heard by a three-judge panel, the

traditional concerns about nationwide injunctions—that they promote forum

shopping, allow a single district court to control policy for the nation, prevent

percolation of federal law, and can lead to conflicting injunctions—do not apply. See

Amanda Frost, In Defense of Nationwide Injunctions, 93 NYU L. Rev. 1065, 1104

(2018).14

   In issuing a nationwide preliminary injunction, this Court should not require

Plaintiffs to post a bond. Defendants suggest this Court require Plaintiffs to

“identify the entries, by entry number, importer name, and importer number, that

would be covered” by the preliminary injunction and order Plaintiffs to “post Single

Transaction Bonds for all such identified entries during the pendency of any

injunctive order.” Defs.’ Resp. 44–45. But because of the nature of the Liberation

Day tariffs and the nature of this claim, doing so does not make sense.




14 Available at SSRN: https://ssrn.com/abstract=3112776


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   The across-the-board tariffs imposed by the President have significantly affected

the entire world economy—not just certain imports of Plaintiffs. Plaintiffs and other

U.S. companies have changed their behavior by holding off on imports that they

might otherwise have made, holding off or cancelling expansion of imports, and

exploring alternative suppliers and supply chains to avoid or lower the effect of the

tariffs on their businesses. So it is impossible for Plaintiffs to identify all the entries

that would be covered by the tariffs.

   Further, courts have held there is broad discretion for a court to determine the

appropriate amount of an injunction bond, including the discretion to require no

bond at all. See e.g., Nat’l Treasury Emps. Union v. Trump, No. 25-0935, 2025 U.S.

Dist. LEXIS 80268, *59 (D. D. C. Dist. April 28, 2025) (finding no bond required

where plaintiff has made a showing that an Executive Order is of unprecedented

scope, where the injunction would protect the public interest, and where the

Executive Order poses an existential threat to plaintiff). National Treasury

Employees Union dealt with the President’s Executive Order removing collective

bargaining rights for approximately two-thirds of the federal workforce. The

reasons stated for not requiring a bond in that case apply even more strongly here.

The scope of the Liberation Day tariffs is unprecedented, the effect on the public is

vast, and the tariffs are an existential threat to at least some Plaintiffs, as well as

many other businesses in the United States.

   Finally, when unconstitutional conduct by the government is involved, as it is

here, courts generally do not require plaintiffs to secure a bond in order to obtain



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preliminary injunctive relief. Requiring a bond “to issue before enjoining potentially

unconstitutional conduct by a governmental entity simply seems inappropriate

because . . . protection of those rights should not be contingent upon an ability to

pay.” Johnson v. Couturier, 572 F.3d 1067, 1086 (9th Cir. 2009).

   This Court should therefore issue a nationwide injunction without requiring

Plaintiffs to secure a bond.

                                    Conclusion
   For the reasons set forth herein, and in their motion for preliminary injunction

and permanent injunction, Plaintiffs respectfully request that this Court enjoin the

imposition of tariffs set forth in Executive Order 14257 and grant other just relief as

this Court may deem just or proper.

Dated: May 6, 2025
                                               Respectfully submitted,

                                               /s/ Jeffrey M. Schwab

Jeffrey M. Schwab                              Ilya Somin
Reilly Stephens                                Antonin Scalia Law School
James McQuaid                                  George Mason University
Bridget F. Conlan                              3301 Fairfax Dr.
Liberty Justice Center                         Arlington, Virginia 22201
7500 Rialto Blvd.                              703-993-8069
Suite 1-250                                    isomin@gmu.edu
Austin, Texas 78735
512-481-4400
jschwab@ljc.org
rstephens@ljc.org
jmcquaid@ljc.org
bconlan@ljc.org




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                          Certificate of Compliance

   I, Jeffrey M. Schwab, hereby certify that this brief complies with the 10,000-

word limitation set forth in the Court’s April 22, 2025, Order, Dkt. 13, because this

brief contains 9,920 words. In making this certification, I have relied upon the word

count function of the Microsoft Word processing system used to prepare this brief.



                                               Respectfully submitted

Dated: May 6, 2025                             /s/ Jeffrey M. Schwab




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